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 2   SEV EN TH FLOOR CAM ELBAC K ESPLANAD E II
     2525 EA ST CAM ELBACK ROAD
 3   PHOENIX, ARIZONA 85016
     TELEPHON E: (602) 255-6000
 4   FA CSIM ILE: (602 ) 255-0192

 5   Mark S. Bosco
     State Bar No. 010167
 6   Leonard J. McDonald
     State Bar No. 014228
 7   Attorneys for Movant
     ljm@tblaw.com
 8
     19-03690
 9
                               IN THE UNITED STATES BANKRUPTCY COURT
10
                                      FOR THE DISTRICT OF ARIZONA
11

12   IN RE:                                                                    Chapter 7
13   Jeffrey Douglas Hunt dba Jeff Hunt Band, LLC                   Case No. 2:19-bk-11453-MCW
     dba Tornadic, LLC and Mindy Jane Hunt
14

15                  Debtors.

16   AmeriHome Mortgage Company, LLC                             MOVANT’S MOTION TO LIFT
                                                             THE AUTOMATIC BANKRUPTCY STAY
17                   Movant,
18            vs.
                                                                    RE: Real Property Located at
19   Jeffrey Douglas Hunt dba Jeff Hunt Band, LLC                        1757 East Hale St
     dba Tornadic, LLC and Mindy Jane Hunt, Debtors;                     Mesa, AZ 85203
20   Roger W. Brown, Trustee.
21                   Respondents.
22

23            Movant hereby requests an order granting relief from the automatic stay of 11 U.S.C. 362(a), to

24   permit Movant to foreclose the lien of its Deed of Trust on real property owned by Debtors by trustee’s

25   sale, judicial foreclosure proceedings or the exercise of the power of sale, and to obtain possession and

26   control of the real property.




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 1          This motion is supported by the attached Memorandum of Points and Authorities, which is

 2   incorporated herein by this reference.
 3          DATED this 25th day of October, 2019.
 4                                                        Respectfully submitted,
 5                                                        TIFFANY & BOSCO, P.A.
 6
                                                          BY: /s/ LJM #014228
 7                                                        Mark S. Bosco
 8                                                        Leonard J. McDonald
                                                          Attorney for Movant
 9

10                          MEMORANDUM OF POINTS AND AUTHORITIES

11          Jeffrey Douglas Hunt dba Jeff Hunt Band, LLC dba Tornadic, LLC and Mindy Jane Hunt filed a
12   voluntary petition for protection under Chapter 7 of the Bankruptcy Code. Roger W. Brown was appointed
13   trustee of the bankruptcy estate. Debtors have an interest in that certain real property located in Maricopa
14   County, AZ, more particularly described as:
15          LOT 72, OF CANDLELIGHT ESTATES, ACCORDING TO THE PLAT OF RECORD IN THE
            OFFICE OF THE COUNTY RECORDER OF MARICOPA COUNTY, ARIZONA,
16          RECORDED IN BOOK 172 OF MAPS, PAGE 38.
17
            Debtors executed a Note secured by a Deed of Trust, dated October 29, 2015, recorded in the
18
     office of the Maricopa County Recorder’s Office. True copies of the Note and Deed of Trust are annexed
19
     as Exhibits "A" and "B", respectively, and made a part hereof by this reference. Further, Movant is the
20
     assignee of the Deed of Trust. The assignment of record is annexed as Exhibit “C”.
21
            As of October 22, 2019, the Debtors are in default on the obligations to Movant for which the
22
     property is security and payments are due under the Promissory Note from and after January 1, 2019.
23
            Movant is informed and believes and therefore alleges that the Movant and the bankruptcy estate
24
     are not adequately protected based upon the Debtors failure to make payments on a timely basis.
25

26




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 1           As of October 22, 2019, the Debtors are indebted to AmeriHome Mortgage Company, LLC for the

 2   principal balance amount of $261,407.45, plus accruing interest, costs, and attorney’s fees.
 3           As of October 22, 2019, the Debtors are currently in default and contractually due for January 1,
 4   2019. The current default amount is set forth below:
 5           1 Monthly Payment at $1,786.42                                      $1,786.42
             (January 1, 2019)
 6           9 Monthly Payments at $1,797.28                                   $16,175.52
 7           (February 1, 2019 - October 1, 2019)
             BPO Fee                                                              $380.00
 8           Property Inspection Fees                                              $45.00
             Accrued Late Charges                                                 $436.34
 9           Attorneys Fees*                                                      $750.00
             Foreclosure Fees and Costs                                         $1,641.08
10           Motion for Relief Filing Fee                                         $181.00
11           Total                                                             $21,395.36

12

13
     *To the extent Attorney’s Fees have been requested herein, the fees requested are based upon the Movant’s fee schedule
14   relating to FHA loans. Any Attorney’s Fees requested herein have been reviewed and approved by the undersigned and are
     in compliance with the Bankruptcy Code and any applicable agreements and as required by the Court assigned to this matter.
15

16           Furthermore, Movant seeks relief for the purpose of foreclosing its Deed of Trust against the

17   Debtors' interest in the real property located at 1757 East Hale St, Mesa, AZ 85203.

18

19
                                                         CONCLUSION
20
             Movant requests that the court enter an order vacating the automatic stay of 11 U.S.C. Section
21
     362(a) as to the debtors, the bankruptcy estate, the property, and Movant; to allow Movant to foreclose the
22
     lien of its Deed of Trust or Mortgage; to evict Debtors and/or successors of Debtors; and to obtain
23
     ownership, possession and control of the Property.
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     ///
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     ///
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 1          Movant further requests that any order for relief granted in this case remain in effect in any

 2   bankruptcy chapter to which the debtors may convert.
 3          DATED this 25th day of October, 2019.
 4                                                          TIFFANY & BOSCO, P.A.
 5

 6                                                          BY: /s/ LJM #014228
                                                            Mark S. Bosco
 7
                                                            Leonard J. McDonald
 8                                                          Seventh Floor Camelback Esplanade II
                                                            2525 East Camelback Road
 9                                                          Phoenix, Arizona 85016
                                                            Attorneys for Movant
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                                 Exhibit "A"




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                         Exhibit "B"




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             Exhibit "C"




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